    Case 18-10280      Doc 50          Filed 02/15/18 Entered 02/15/18 21:38:18       Desc Main
                                        Document     Page 1 of 20


                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

In re                                               )
                                                    )
ENUMERAL BIOMEDICAL                                 )    CHAPTER 11
HOLDINGS, INC., et al.                              )    CASE NO. 18-10280-FJB
                                                    )
                                   1                )    (Jointly Administered)
                        Debtors.
                                                    )



                DEBTORS’ CHAPTER 11 PLAN DATED FEBRUARY 15, 2018

        Enumeral Biomedical Holdings, Inc., Enumeral Biomedical Corp., and Enumeral
Securities Corporation (collectively the “Debtors”), each of them a Delaware corporation and
debtor in the above-captioned case, propose the following plan pursuant to Section 1121 of the
Bankruptcy Code (the “Plan”):

                                              SECTION 1
                                             DEFINITIONS

        1.1    General. Unless the context otherwise requires, the following terms shall have
the following meanings when used in initially capitalized form in the Plan. Such meanings shall
be equally applicable to both the singular and plural points of such terms. Any term that is not
defined in the Plan but that is defined in the Bankruptcy Code shall have the meaning assigned to
such term in the Bankruptcy Code.

        1.2    Administrative Claim means that portion of a Claim that is asserted to be, or in
the case of an Allowed Claim, has been Allowed as being, entitled to priority under Code Section
507(a)(2).

         1.3    Allowed means:

                (a)     with respect to a Claim other than an Administrative Claim, any Claim: (i)
                        listed in the Schedules and not listed therein as contingent, unliquidated or
                        disputed; or (ii) as to which a proof of claim has been filed on or before
                        the Bar Date and either (A) allowed by Final Order or (B) to which no
                        objection has been filed by the Objection Deadline.



1
    The debtors in these jointly administered chapter 11 cases, along with the last four digits of
    each debtor’s federal tax identification number, are: Enumeral Biomedical Holdings, Inc.
    (6434), Enumeral Biomedical Corp. (9860), and Enumeral Securities Corporation (7157).
  Case 18-10280      Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18           Desc Main
                                 Document     Page 2 of 20


              (b)     with respect to an Administrative Claim, (i) an undisputed obligation
                      incurred in the ordinary course as to which payment has been made before
                      the Effective Date, (ii) a Professional Claim that the Bankruptcy Court has
                      allowed pursuant to Section 2.3, or (iii) any other Administrative Claim as
                      to which a request for payment has been filed on or before the Postpetition
                      Bar Date and either (A) no objection thereto has been filed by the
                      Objection Deadline, or (B) such Administrative Claim has been allowed
                      by Final Order.

       1.4    Allowed Amount means, as to any Allowed Claim but subject to Section 7.8:

              (a)     for a Claim other than an Administrative Claim that is (i) listed in the
                      Schedules and not the subject of a proof of claim filed on or before the Bar
                      Date, the amount thereof that the Schedules do not list as contingent,
                      unliquidated or disputed, (ii) the subject of a proof of claim filed on or
                      before the Bar Date and to which no objection has been filed on or before
                      the Claim Objection Deadline, the amount specified in such proof of
                      claim, or (iii) that has been allowed by Final Order, the amount so
                      allowed;

              (b)     for an Administrative Claim other than a Professional Claim (i) that is the
                      subject of a request for payment of administrative expense filed with the
                      Court and served on the Plan Trustee on or before the Postpetition Bar
                      Date, and to which the Plan Trustee has not filed an objection on or before
                      the Claim Objection Deadline, the amount specified in such request, or (ii)
                      that has been allowed by Final Order, the amount so allowed;

              (c)     for a Professional Claim, the amount specified in the Order allowing the
                      Claim.

        1.5    Asserted Claim means (a) a Claim, other than an Administrative Claim, that is
the subject of a proof of claim filed on or before the Bar Date; or (b) an Administrative Claim
that is the subject of a request for payment of administrative expense or, in the case of a
Professional Claim) a fee application, filed and served on the Plan Trustee on or before the
Postpetition Bar Date.

        1.6     Asserted Amount means, as to any Asserted Claim but subject to Section 7.8, (a)
for a claim other than an Administrative Claim, the amount set forth in the proof of claim
therefor, or (b) for an Administrative Claim, the amount set forth in a request for payment of
administrative expense or, in the case of a Professional Claim, the fee application therefor.

        1.7     Bankruptcy Code means Title 11 of the United States Code, as in effect with
respect to the Case.

        1.8    Bar Date means March 15, 2018, or such later date established by the Bar Order
(or by agreement of the Debtors, prior to the Effective Date, or the Plan Trustee from and after
the Effective Date) with respect to a particular Claim as the deadline by which a proof of claim
therefor must be filed, provided, however, that as to any Claim subject to a deadline by which a


                                               2
  Case 18-10280      Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18           Desc Main
                                 Document     Page 3 of 20


proof of claim therefor must be filed established by an Order other than the Bar Order, the Bar
Date shall be the deadline established by such other Order.

       1.9     Bar Order means the Order Fixing Deadline for Filing Proofs of Claim in
Chapter 11 Cases entered January 31, 2018 [Docket No. 23], which, inter alia, established the
Bar Date as the deadline for filing proofs of claim as to certain Claims.

        1.10 Business Day means a day other than Saturday, Sunday or a legal holiday defined
in Fed. R. Bankr. P. 9006(a) as applicable in Massachusetts.

       1.11 Case means the jointly administered case under the Bankruptcy Code pending in
the Court as to the Debtors (Enumeral Biomedical Holdings, Inc., et al., Case No. 18-10280).

       1.12   Case Closing Conditions has the meaning set forth in Section 6.12.

       1.13 Case Closing Date means the date of entry of an Order consisting of a final
decree closing the Case pursuant to Code Section 350.

       1.14   Cash means payment by check or wire transfer of the Plan Trustee.

       1.15 Cash Collateral Orders means all Orders entered pursuant to the Debtors’
Motion for Use of Cash Collateral filed on January 29, 2018 [Docket No. 9], or such subsequent
motion seeking use of cash collateral as the Debtors might file.

       1.16 Claim means a claim, as defined in Code Section 101(5), against any of the
Debtors or its property, whether or not asserted.

      1.17 Code Section means, except where otherwise indicated, a section of the
Bankruptcy Code.

       1.18 Collateral Agent means Intuitive Venture Partners, LLC, as collateral agent for
the Noteholders under the Intellectual Property Security Agreement with EBHI and EBC as
debtors, dated May 19, 2017.

       1.19 Collateral Proceeds means all funds that are proceeds of any sale of assets of the
Debtors during the Case pursuant to an order specifying that liens on such assets would attach to
the proceeds of the sale.

       1.20 Confirmation Order means the Order confirming the Plan pursuant to Code
Section 1129.

        1.21 Court means the United States Bankruptcy Court for the District of
Massachusetts (Eastern Division), or any other court with jurisdiction over (a) the Case, (b) any
particular matter within the Case pursuant to 28 U.S.C. § 157(c)(1) or (d), or (c) any particular
Claim pursuant to 28 U.S.C. §§ 157(b)(5), 959(a) or 1334(c).

       1.22   Debtors means EBHI, EBC, and ESC.




                                               3
  Case 18-10280      Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18           Desc Main
                                 Document     Page 4 of 20


        1.23 Disallowed as to any Claim means either (a) disallowed by Final Order, but (in
the case of a partially-Allowed Claim) only to the extent so disallowed, (b) not filed by the Bar
Date, if applicable, (c) not filed by the Postpetition Bar Date, if applicable, or (d) treated as
disallowed pursuant to Section 7.8.

       1.24   Distributable Funds has the meaning defined in Section 5.6(b).

       1.25   EBC means Enumeral Biomedical Corp., debtor in Case No. 18-10281 pending in
the Court.

       1.26 EBHI means Enumeral Biomedical Holdings, Inc., debtor in Case No. 18-10280
pending in the Court.

        1.27 Effective Date means the Business Day following the thirtieth (30th) day after
entry of the Confirmation Order, provided that the Confirmation Order, as entered, remains in
full force and effect.

       1.28 ESC means Enumeral Securities Corporation, debtor in Case No. 18-10282
pending in the Court.

       1.29 Estate means (a) prior to the Effective Date, collectively, the bankruptcy estates
of the Debtors, and (b) from and after the Effective Date, the consolidated bankruptcy estate of
the Debtors established pursuant to Section 5.9.

        1.30 Estate Funds means, as of any particular time, all cash, cash equivalents, and
liquid investments of the Estate, including but not limited to coins, bills, deposit accounts,
investment accounts, and marketable securities, including Collateral Proceeds.

        1.31 Estate Records means, as of any particular time, all financial and other business
records of the Debtors or the Estate (whether tangible or intangible, whether in paper or
electronic or other form, and whether or not in the Debtors’ possession as of the Petition Date)
having value for informational purposes or reference and having no other material value. Estate
Records shall not include lab notes or other records or data relating to intellectual property or
products developed by the Debtors.

        1.32 Final Order means an Order as to which (a) the time has expired within which a
proceeding for judicial review (whether by way of rehearing, appeal, certiorari or otherwise, but
not pursuant to Code Section 1144, Fed. R. Bankr. P. 9024, Fed. R. Civ. P. 60(b) or any similar
rule) may be commenced, without any such proceeding having been commenced, or (b) if such a
proceeding has been timely commenced, such Order has been affirmed by the highest tribunal in
which review is sought or such proceeding for review has otherwise been terminated without
modification of such Order, and the time has expired within which any further proceeding for
judicial review may be commenced.

        1.33 General Unsecured Claim means any Unsecured Claim, including without
limitation any Unsecured Claim arising from the rejection or termination of an executory
contract or unexpired lease, that is not a Priority Claim or a Subordinated Claim.



                                               4
  Case 18-10280        Doc 50    Filed 02/15/18 Entered 02/15/18 21:38:18          Desc Main
                                  Document     Page 5 of 20


          1.34   Non-Abandonment Notice shall mean the notice referred to in Section 5.4.

       1.35 Noteholder Claim means any Claim of a Noteholder, including a claim based
upon the Notes.

          1.36   Noteholder means a holder of one or more Notes.

       1.37 Notes means the promissory notes in the aggregate principal amount of $768,200
issued pursuant to the Subscription Agreement between EBHI and the buyers of the Notes dated
May 19, 2017.

        1.38 Objection Deadline means, except as extended or shortened pursuant to Section
7.2(c): (a) in respect of an Administrative Claim, the Business Day after the thirtieth (30th) day
following the Postpetition Bar Date; and (b) in respect of any other Claim, the later of (i) the
Business Day after the thirtieth (30th) day following amendment of the proof of claim therefor,
other than an amendment solely to reduce the amount of such Claim, and (ii) the Business Day
preceding the Effective Date.

          1.39   Order means an order or judgment of the Court.

          1.40   Petition Date means January 29, 2018.

        1.41 Plan means this plan, as it may be amended or modified by the Debtors from time
to time as permitted in this plan or under the Bankruptcy Code.

        1.42 Plan Expense means an expense or other liability incurred by the Plan Trustee in
performing the Plan Trustee’s duties under the Plan, including but not limited to fees and
expenses of the Plan Trustee and persons engaged by him pursuant to Section 6.7, but only to the
extent that such liability would have been allowable as an administrative expense under Code
Section 503(b) if incurred by the Estate before entry of the Confirmation Order.

        1.43 Plan Trustee means the person serving from time to time as Plan Trustee under
the Plan in accordance with Sections 6.1 or 6.2.

        1.44 Postpetition Bar Date means the Business Day following the twenty-fifth (25th)
day after entry of the Confirmation Order.

      1.45 Priority Claims means Administrative Claims, Priority Tax Claims, and Priority
Non-Tax Claims.

       1.46 Priority Non-Tax Claim means that portion of a Claim which is filed, or in the
case of an Allowed Claim, has been Allowed, as entitled to priority in accordance with Code
Section 507(a)(3)-(7) and (9).

          1.47   Priority Reserve means the reserve held by the Plan Trustee pursuant to Section
5.6(a).




                                                5
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                  Document     Page 6 of 20


       1.48 Priority Tax Claim means that portion of a Claim which is filed, or in the case of
an Allowed Claim, has been Allowed, as entitled to priority under Code Section 507(a)(8).

       1.49 Professional Claim means the Claim of a professional person employed by the
Debtors pursuant to Code Section 327 for compensation and/or reimbursement of expenses for
services rendered to the Debtors through and including the date of entry of the Confirmation
Order.

        1.50 Pro Rata Share of a particular distribution attributable to a particular Allowed
Claim within a group entitled to a pro rata share of funds available for distribution to such
group, means (a) the total amount of funds that will be the subject of the particular distribution
plus all funds that were previously distributed (including reserves for Unresolved Claims) to
such group multiplied by a fraction, the numerator of which is the Allowed Amount of the
particular Allowed Claim and the denominator of which is the aggregate amount of all Allowed
Claims and Unresolved Claims within such group at the time of the particular distribution, less
(b) the amount of funds from previous distributions received by the holder of such Allowed
Claim on account of such Claim.

       1.51 Residual Assets means, as of any particular time, all assets and property interests
of the Debtors of any nature whatsoever (whether tangible or intangible, whether as owner or
lessee or licensee or otherwise, and whether disputed or undisputed) other than (a) deposit
accounts or other cash equivalents, and (b) Debtors’ Records.

       1.52 Schedules mean the schedules of assets and liabilities filed by the Debtors in the
Case, as amended through and including the Effective Date.

       1.53    Section means a section of this Plan.

        1.54 Secured means, as to any Claim against a Debtor secured by a Valid lien on
property of the Estate, the portion of such Claim equal to the lesser of (a) the full Asserted
Amount of such Claim, if Unresolved, otherwise the Allowed Amount (if any) of such Claim, or
(b) the value of such property (which, for the avoidance of doubt, in the case of Noteholder
Claims means the full amount of the Secured Creditor Fund as of the Effective Date).

       1.55 Secured Creditor Fund means the net proceeds of the Debtors’ disposition of
property of the Estate that is subject to the lien of the Collateral Agent, as determined pursuant to
Section 5.5.

        1.56 Subordinated Claims means Claims of the Noteholders and the Collateral Agent,
to the extent determined by Final Order to be subordinate and junior in right of payment to
General Unsecured Claims.

       1.57 Unresolved means, as to any Claim, that such Claim is an Asserted Claim but has
not been Allowed or Disallowed.

        1.58 Unrestricted Funds means any and all Estate Funds that are not subject to the
lien of the Collateral Agent, including amounts that the Court determines the Plan Trustee may
collect from Collateral Proceeds pursuant to Code Section 506(c).


                                                 6
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18           Desc Main
                                  Document     Page 7 of 20


       1.59 Unsecured means, as to any Claim, the amount thereof other than the amount (if
any) that is Secured.

        1.60 Valid, as to any lien, refers to whether such lien is valid, binding, enforceable,
perfected and not subject to avoidance under any provision of the Bankruptcy Code (including
Code Sections 544 through 553) or other applicable law.


                                  SECTION 2
                      TREATMENT OF NON-CLASSIFIED CLAIMS

       2.1    Administrative Claims. Subject to Sections 2.2 and 2.3 and except as otherwise
agreed by the Plan Trustee and the holder of an Administrative Claim, each Allowed
Administrative Claim shall be paid in full in Cash on the Effective Date.

        2.2    Bankruptcy Fees. Any Administrative Claim for fees under 28 U.S.C. § 1930
due and payable prior to entry of the Confirmation Order shall be paid in full in Cash on the
Effective Date or, in the case of amounts not yet billed by the United States Trustee as of the
Effective Date, within ten (10) Business Days after receipt of an invoice therefor. The Plan
Trustee’s acquisition of control over Debtors’ Funds pursuant to Section 5.1 shall not constitute a
disbursement for purposes of computing fees payable under 28 U.S.C. § 1930. Fees payable
under 28 U.S.C. § 1930 in regard to the Estate shall be conclusively presumed, without need for
an Order, to be chargeable to the Secured Creditor Fund under Code Section 506(c) and any
amount so charged shall be paid over to the United States Trustee without regard to whether any
other Administrative Claims or Plan Expenses are, or are projected to become, outstanding.

        2.3    Professional Claims. Professional Claims shall be paid in Cash on the Business
Day following entry of an Order allowing an application therefor, provided, however, that any
retainer securing such claim shall be applied as directed in any applicable Order or, if not so
directed by the Court, then as directed by the Plan Trustee in accordance with Section 6.7. The
unused portion of any such retainer shall be turned over to the Plan Trustee.

       2.4    Priority Tax Claims. Each Allowed Priority Tax Claim shall be paid in full in
Cash on the Effective Date.

                                SECTION 3
              DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS

        3.1     Claims that are required to be classified under Code Section 1123(a)(1) and
interests are hereby classified into the following classes:

               (a)    Class 1, consisting of all Claims of the Noteholders and/or the Collateral
                      Agent, to the extent such Claims are Secured.

               (b)    Class 2, consisting of all Priority Non-Tax Claims.




                                                7
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18            Desc Main
                                  Document     Page 8 of 20


               (c)     Class 3, consisting of all General Unsecured Claims, other than Claims of
                       Noteholders and/or the Collateral Agent determined by Order to be
                       Subordinated Claims.

               (d)     Class 4, consisting of all Subordinated Claims.

               (e)     Class 5, consisting of all equity interests in the Debtors, including any
                       options, warrants or other agreements for the acquisition of such interests.

                                SECTION 4
               TREATMENT OF CLASSIFIED CLAIMS AND INTERESTS

        4.1    Class 1 (Noteholders). Class 1 is impaired. In full settlement and satisfaction of
all Class 1 Claims, the holders thereof shall be paid pro rata from the Secured Creditor Fund
pursuant to Section 5.5.

        4.2    Class 2 (Priority Non-Tax Claims). Class 2 is unimpaired. In full settlement
and satisfaction of each Allowed Class 2 Claim, the Allowed Amount thereof shall be paid in full
in Cash on the Effective Date.

        4.3    Class 3 (General Unsecured Claims). Class 3 is impaired. In full settlement
and satisfaction of each Allowed Class 3 Claim, the Plan Trustee shall pay such Claims pro rata
in accordance with Section 5.6(c)(iii) and (v).

        4.4     Class 4 (Subordinated Claims). Class 4 is impaired. In full settlement and
satisfaction of each Allowed Class 4 Claim, the Plan Trustee shall pay such Claims pro rata in
accordance with Section 5.6(c)(iv) and (v).

      4.5    Class 5 (Equity Interests). Class 5 is impaired. All Class 5 interests shall be
deemed cancelled on the Effective Date, subject, however, to Section 5.6(c)(vi).

                                      SECTION 5
                               MEANS OF IMPLEMENTATION

        5.1     Change of Control. Upon entry of the Confirmation Order, the Plan Trustee
shall assume control of the Debtors and their assets, including the Secured Creditor Fund, other
funds of the Debtors and all records of the Debtors. Notwithstanding Code Section 1141(b),
confirmation of the Plan shall not terminate the Debtors’ respective bankruptcy estates; rather, all
assets of the Debtors’ estates shall remain in a single consolidated estate (as provided in Section
5.9) to be administered by the Plan Trustee. The Plan shall not be deemed to create a trust or any
other legal entity for tax or any other purposes. The Debtors’ legal existence shall continue until
the Case Closing Date; the assumption of control by the Plan Trustee shall not be deemed a
transfer for any purpose, including but not limited to laws and regulations regarding taxes.

        5.2     Debtors’ Funds. From and after entry of the Confirmation Order, the Plan
Trustee shall have control over all funds of the Estate (including the Secured Creditor Fund) and
shall be the sole authorized signatory on all deposit accounts of the Estate.



                                                 8
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18           Desc Main
                                  Document     Page 9 of 20


       5.3     Debtors’ Records. The Plan Trustee shall have possession of and control over all
Debtors’ Records. Without the need for an Order, the Plan Trustee may (a) from time to time,
discard or otherwise dispose of any records that the Plan Trustee determines are not necessary for
administration of the Estate, and (b) upon or after the Case Closing Date, discard or otherwise
dispose of any and all remaining records.

        5.4     Residual Assets. The Plan Trustee shall determine within sixty (60) days after
the Effective Date whether any Residual Assets may have material value. Except as otherwise
stated in a notice filed by the Plan Trustee within such 60-day period (a “Non-Abandonment
Notice”), all of the Residual Assets shall be deemed abandoned at the end of such period, and
(notwithstanding Code Section 554(d)) the Estate shall have no further interest therein. The Plan
Trustee may, but shall not be required to, discard or otherwise dispose of such abandoned
Residual Assets. Any of the Residual Assets retained by the Plan Trustee pursuant to a Non-
Abandonment Notice may later (a) be sold by the Plan Trustee in accordance with Section 6.3(b),
or (b) at the discretion of the Plan Trustee, be abandoned in accordance with the procedures of
Code Section 554(a) and applicable rules.

        5.5     Secured Creditor Fund. The Plan Trustee shall hold the Secured Creditor Fund
in one or more deposit accounts separate from Unrestricted Funds. Subject to Section 2.2, the
amount of the Secured Creditor Fund shall at any particular time be the lesser of (a) Collateral
Proceeds held by the Estate as of the Effective Date, less such amounts as the Plan Trustee
asserts, and the Court determines by Final Order, are chargeable against Collateral Proceeds
pursuant to Code Section 506(c), (b) the aggregate Allowed (but not yet paid) and Unresolved
amounts of Class 1 Claims, and (c) such amount as the Court estimates by Order as the
maximum aggregate amount (i) of Allowed (but not yet paid) Class 1 Claims, and (ii) in which
Unresolved Class 1 Claims will be Allowed. A Pro Rata Share of the Secured Creditor Fund
shall be distributed to each holder of a Class 1 Claim on the Effective Date or, if later, the date
when such claim is Allowed. To the extent that the terms of the Plan or any Order reduce the
amount required to be held in the Secured Creditor Fund, any amounts in the Secured Creditor
Fund exceeding such required amount shall be removed therefrom and thereafter shall
irrevocably be, and be held or distributed by the Plan Trustee as, Unrestricted Funds.

       5.6     Unrestricted Funds. Unrestricted Funds shall be used as follows:

               (a)    Priority Reserve. The Plan Trustee shall at all times set aside in reserve
                      (i) an amount sufficient to pay all unpaid Priority Claims (including, in the
                      case of an Unresolved Claim, the amount claimed by the holder thereof)
                      payable on the Effective Date, and (ii) an amount projected by the Plan
                      Trustee to pay all accrued Plan Expenses and those that may be incurred in
                      the future. Notwithstanding the foregoing, if sufficient Unrestricted Funds
                      are not available on the Effective date to fund the Priority Reserve in full,
                      then at the discretion of the Plan Trustee, the Priority Reserve need not
                      include on the Effective Date the full (or any) amount (iii) payable to
                      holders of Priority Claims who have agreed to defer payment until funds
                      become available after the Effective Date, or (iv) projected to be or
                      become payable as Plan Expenses, provided, however, that if and when



                                                9
  Case 18-10280       Doc 50    Filed 02/15/18 Entered 02/15/18 21:38:18            Desc Main
                                 Document     Page 10 of 20


                      Unrestricted Funds become available, the Plan Trustee shall fund the
                      Priority Reserve to the full extent of projected Plan Expenses.

               (b)    Distributable Funds. Unrestricted Funds not held in the Priority Reserve
                      (“Distributable Funds”) shall be distributed by the Plan Trustee, on the
                      Effective Date and thereafter as further Distributable Funds (if any)
                      become available, in the order of priority specified in Section 5.6(c) such
                      that when all Claims at one level of priority have been paid or reserved for
                      pursuant to Section 7.2(d), remaining Distributable Funds shall be
                      distributed to the next most senior level of priority.

               (c)    Creditor Waterfall. The order of priority for distribution of Distributable
                      Funds shall be as follows: (i) pro rata to holders of Administrative Claims
                      who agreed not to require payment on the Effective Date, (ii) pro rata to
                      holders of other Priority Claims who agreed not to require payment on the
                      Effective Date, (iii) pro rata to holders of General Unsecured Claims, (iv)
                      pro rata to holders of Subordinated Claims, (v) pro rata to holders of all
                      Allowed General Unsecured Claims and Subordinated Claims, on account
                      of interest on the Allowed Amount thereof from the Petition Date through
                      the final day of the month preceding payment, at the federal judgment rate,
                      and (vi) if Distributable Funds of not less than $100,000 remain after no
                      Claims remain Unresolved and all amounts required by clauses (i) through
                      (v) have been paid, the Plan Trustee shall distribute such funds pro rata to
                      the record holders of common stock of EBHI on the Effective Date,
                      disregarding options, unexercised warrants, and the like.

        5.7     Liens. From and after the Effective Date, the Debtors’ assets (including all funds
in the hands of the Plan Trustee) shall be free and clear of all liens, encumbrances, claims and
interests, except as follows:

               (a)    Cash Collateral Orders. All liens granted pursuant to Cash Collateral
                      Orders shall survive (subject to Section 7.2) if asserted by the holder
                      thereof, in a specific amount and as to specific assets, by notice filed with
                      the Court and served on the Plan Trustee on or before the Postpetition Bar
                      Date. Except as set forth in any such notice, any liens and other rights
                      conferred by any of the Cash Collateral Orders shall terminate as of the
                      Effective Date.

               (b)    Secured Creditor Fund. Subject to Sections 2.2 and 5.5, all Collateral
                      Proceeds shall be subject to the lien of the Collateral Agent except to the
                      extent that a Final Order (i) determines such lien not to be Valid, or (ii)
                      disallows any or all of the Class 1 Claims.

       5.8    Directors and Officers. Upon entry of the Confirmation Order, the directors of
the Debtors shall be deemed to have resigned, and their resignations will be deemed to have been
accepted by the Debtors. Immediately prior to entry of the Confirmation Order, the officers of
the Debtors shall be deemed to have been terminated without cause. From and after entry of the



                                               10
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                  Document     Page 11 of 20


Confirmation Order, the directors and officers of the Debtors shall have no further authority or
responsibility for the affairs of the Debtors, provided, however, that the directors and officers
shall, upon the reasonable request of the Plan Trustee, render such assistance as the Plan Trustee
might require but shall not be required to make any out-of-pocket expenditure unless assured of
reimbursement by the Plan Trustee as a Plan Expense. All liability insurance in effect on the
Effective Date under which the Debtors’ directors and officers are insureds or otherwise
beneficiaries shall be kept in full force and effect, provided that no further expenditure by the
Estate shall be required to maintain such insurance.

        5.9    Substantive Consolidation. On the Effective Date, the bankruptcy estates of the
Debtors shall be consolidated into a single bankruptcy estate. An Allowed Claim against any of
the Debtors, or more than one, shall be a single Allowed Claim against the consolidated Estate
for purposes of distributions under the Plan.

       5.10 Notice and Hearing. Whenever the Plan specifies that Court approval or entry of
an Order is required, such approval and entry of an appropriate Order shall be sought by motion
under Fed. R. Bankr. P. 9013 and MLBR 9013-1, upon notice to holders of all Unresolved
Claims (and, if any, unpaid Allowed Claims) and to the Plan Trustee (if not the movant), or upon
such other notice as the Court determines to be appropriate in the particular circumstances.

        5.11 Sale of PD-1 Assets. The Plan Trustee shall (a) perform any and all remaining
obligations of the Estate under such bid as has been approved by the Court pursuant to the
Debtor’s Motion to Authorize Sale of Property Free and Clear of All Liens, Claims and Other
Interests [Docket No. 7], and (b) pay on the Effective Date as an Administrative Expense the
Breakup Fee, as defined in the Asset Purchase Agreement dated as of January 26, 2018, by and
between EBHI and XOMA US LLC, to the extent due thereunder but not yet paid.


                                          SECTION 6
                                        PLAN TRUSTEE

        6.1      Appointment of Plan Trustee. Keith D. Lowey of Verdolino & Lowey, P.C.
shall serve as Plan Trustee. The Plan Trustee shall have the rights, powers and responsibilities
set forth in the Plan. The Plan Trustee shall act as an independent fiduciary in the interests of all
entities having an interest in the Estate. No bond or other security shall be required of the Plan
Trustee except as may be expressly ordered by the Court. Subject to Section 6.10, but
notwithstanding any other provision of the Plan, each and every obligation or liability of the Plan
Trustee shall solely be chargeable to and collectible from assets of the Estate, and the Plan
Trustee shall have no personal liability therefor.

        6.2    Successor Plan Trustee. If the Plan Trustee at any time resigns, dies, becomes
incapable of performing the duties of the Plan Trustee, or is removed by Order entered after
notice to the Plan Trustee and a hearing, a successor Plan Trustee shall be appointed pursuant to
an Order entered after notice and a hearing.

       6.3     Plan Trustee’s Powers. The Plan Trustee shall have the following powers:




                                                 11
  Case 18-10280      Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18            Desc Main
                                 Document     Page 12 of 20


              (a)     Claims. Acting on behalf of the Estate, the Plan Trustee shall have
                      authority to file objections to Claims and to litigate to final judgment,
                      settle, or withdraw objections to Claims, including objections filed by the
                      Debtors before entry of the Confirmation Order. Notwithstanding Fed. R.
                      Bankr. P. 9019, the Plan Trustee may settle any Unresolved Claim without
                      Court approval, provided, however, that any settlement of a Noteholder
                      Claim that entails any portion thereof being an Allowed Class 1 Claim
                      shall require entry of an Order after notice and a hearing.

              (b)     Other Powers. The Plan Trustee shall have full power and authority to
                      take all actions and execute all documents on behalf and in the name of the
                      Debtors that are necessary or appropriate to administer the Estate and
                      otherwise to implement the Plan without the need for approval by the
                      Court or any party in interest except as specifically required by the Plan.
                      Without limiting the generality of the foregoing, the Plan Trustee shall
                      have all powers that were vested in the shareholders and board of directors
                      of the Debtors prior to the Plan Trustee’s appointment. Notwithstanding
                      any provision of the Bankruptcy Code, applicable non-bankruptcy law, or
                      contract, the Plan Trustee shall not be required to seek any vote or assent
                      of any entity, or to seek an Order, for any action taken in administering the
                      Estate consistently with the Plan, except where specifically required by the
                      Plan.

        6.4     Funds. All funds in the hands of the Plan Trustee for more than one (1) day shall
be invested in accordance with Code Section 345, except as otherwise ordered by the Court. Any
income earned on such funds shall not be allocated to individual Claims but only to the fund
(such as the Secured Creditor Fund) in which such funds are held. Funds in the hands of the Plan
Trustee shall be deemed to be in the custody of the Court. Because such funds are in custodia
legis, no entity may acquire any interest in such funds except by Order or the express terms of
the Plan. In no event shall any such funds be required to be used for any purpose other than (a)
distributions to creditors of the Debtors as expressly required under the Plan, or (b) payment of
Plan Expenses.

       6.5     Records. Until the Case Closing Date, (a) the Plan Trustee or his agents shall
maintain books and records containing a description of all property of the Estate as well as an
accounting of receipts and disbursements, and (b) the Plan Trustee shall preserve such Debtors’
Records as are required by applicable law, or are necessary or useful to the Plan Trustee’s
administration.

        6.6    Compensation. Subject to the procedures of Section 6.8, the Plan Trustee shall
be entitled to receive, as a Plan Expense, reasonable compensation for services (including for
services rendered prior to entry of the Confirmation Order in preparing to serve as Plan Trustee)
at the Plan Trustee’s customary hourly rates in effect when such services are rendered, and
reimbursement of customary expenses.

      6.7    Retention of Professionals. The Plan Trustee may without need for an Order
employ counsel and such other professionals and consultants, and provide them such retainers


                                               12
  Case 18-10280        Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18              Desc Main
                                   Document     Page 13 of 20


for security of payment, as he may reasonably determine to be necessary or appropriate to advise
and assist him in the performance of his duties as Plan Trustee. Subject to the procedures of
Section 6.8, each such professional shall be entitled to receive, as a Plan Expense, reasonable
compensation for services at such professional’s customary hourly rates in effect when such
services are rendered and reimbursement of customary expenses. No professional or employee
of the Debtors shall be barred from providing services to the Plan Trustee and receiving
compensation therefor by reason of having served as a professional or employee of the Debtors
before entry of the Confirmation Order.

        6.8     Compensation Procedure. After the Effective Date, the Plan Trustee shall
provide notice to all holders of Unresolved Claims (and, if any, unpaid Allowed Claims) that
they may, by so requesting and supplying an email address to the Plan Trustee, receive notice of
requests for compensation and reimbursement by the Plan Trustee and professionals employed
by the Plan Trustee (the “Compensation Notice List”). Based on responses to such notice, the
Plan Trustee shall create the Compensation Notice List and may modify it from time to time by
deleting email addresses of holders of Claims that are Disallowed or paid the full amount to
which entitled under the Plan. In order to receive compensation and reimbursement of expenses,
the Plan Trustee and professionals employed by him (a “Provider”) shall generate and retain (in
the case of the Plan Trustee) or supply to the Plan Trustee (in the case of a Provider other than
the Plan Trustee) a reasonably detailed invoice of time spent and expenses incurred. The Plan
Trustee shall give notice thereof to the Compensation Notice List including the Provider’s
invoice and stating that the amount thereof will be paid unless, within ten (10) Business Days,
the Plan Trustee and (in the case of a Provider other than the Plan Trustee) the Provider receives
a written objection by the holder of an Unresolved Claim (or, if any, an unpaid Allowed Claim)
specifically identifying the basis for the objection and the particular time entries involved. In the
case of a Provider other than the Plan Trustee, the Plan Trustee may make such an objection.
Upon lapse of ten (10) Business Days after service of an invoice without making or receiving an
objection thereto, the Plan Trustee shall pay such invoice. If the Plan Trustee makes or receives
a timely objection to a particular invoice, the Plan Trustee shall withhold payment of the portion
objected to and promptly pay the remainder of the invoice. If an objection is timely made and
the parties are unable to resolve the objection by agreement, then the Provider may seek
determination of the objection by filing with the Court a motion to compel payment of the
disputed amount. Except as provided by the preceding sentence, Court approval for professional
fees constituting Plan Expenses shall not be required. At such time as the Case Closing
Conditions have been met except for payment of Providers’ final invoices, which may include a
flat fee based on an estimate of the time charges for the remaining services required of such
Provider, the Plan Trustee may (notwithstanding the foregoing procedures applicable to previous
invoices) pay such invoices and proceed to close the Case pursuant to Section 6.12.

         6.9     Limitation on Plan Expenses. Notwithstanding anything to the contrary
contained in the Plan, except as otherwise agreed by the Plan Trustee in writing, the Plan Trustee
shall not be liable for, nor shall assets of the Estate held by the Plan Trustee be subject to, (a) any
liability arising after confirmation of the Plan other than a Plan Expense, or (b) any Plan Expense
for which the Plan Trustee does not receive an invoice or other form of written notice within
sixty (60) days after the incurrence of such alleged Plan Expense.




                                                  13
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                  Document     Page 14 of 20


        6.10 Limitation of Liability. Financial obligations of the Plan Trustee are solely in
such capacity and payable solely from funds of the Estate. The Plan Trustee shall have no
personal liability for any act or omission other than gross negligence or willful misconduct.
Without limiting the generality of the foregoing, the Plan Trustee may rely and shall be fully
protected in acting upon any (or any copy of any) resolution, statement, certificate, instrument,
report, notice, request, consent, order or other document which, in the absence of gross
negligence or willful misconduct, the Plan Trustee believes to be genuine and to have been
signed or (in the case of electronic mail transmittals, faxes, and the like) to have been sent by the
proper party.

       6.11 Disputes. The Court shall have exclusive jurisdiction over any dispute arising
from any act or omission of the Plan Trustee. Whether or not a dispute has arisen, the Plan
Trustee shall have the right at any time to seek an Order providing instructions from the Court
concerning any question arising in connection with the performance of the Plan Trustee’s duties
under the Plan.

        6.12 Closing of Case/Interim Reports. At such time as all Unresolved Claims have
been Allowed or Disallowed, all Residual Assets disposed of, all distributions made, and all Plan
Expenses (including final compensation to the Plan Trustee and Providers) have been paid as
specified in the Plan (the “Case Closing Conditions”), the Plan Trustee shall promptly prepare
and file with the Court all documents, and shall take all other steps, necessary to close the Case.
The Plan Trustee shall file such reports as may be required by applicable law and rules, provided,
however, that, except as the Court may otherwise direct, the requirements of MLBR 3022-1(d)
shall commence at such time as all Noteholder Claims have been Allowed or Disallowed.

        6.13   Final Decree. Following (and notwithstanding) entry of a final decree closing the
Case:

               (a)     The Plan Trustee shall file a certified copy of the final decree with the
                       Delaware secretary of state, whereupon the Debtors shall, notwithstanding
                       requirements of applicable law, be deemed legally dissolved, and the
                       Delaware secretary of state shall accept such final decree for filing and as
                       conclusive evidence of the dissolution of the Debtors;

               (b)     The Plan Trustee shall be authorized to, and shall, prepare and file final
                       state and federal income tax returns for the Debtors;

               (c)     The Plan Trustee may at any time, notwithstanding any requirements of
                       applicable law concerning preservation of records, destroy all remaining
                       records of the Debtors and the Estate; and

               (d)     To the extent that Estate Funds remain by reason of the provisions of
                       Sections 5.6(c)(vi) and/or 7.5 concerning minimum distributable amounts,
                       the Plan Trustee shall donate such funds to the American College of
                       Bankruptcy Foundation.




                                                 14
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18            Desc Main
                                  Document     Page 15 of 20


                                       SECTION 7
                               CLAIMS AND DISTRIBUTIONS

       7.1     Postpetition Claims. Any Administrative Claim still outstanding as of the
Postpetition Bar Date shall be forever barred except to the extent that it is the subject of a proof
of claim (or, as provided in Section 2.3, an application) filed with the Court on or before the
Postpetition Bar Date.

       7.2     Disputed Claims.

               (a)     No Payment before Allowance. Notwithstanding anything to the
                       contrary contained in the Plan, but subject to Section 2.3, no payment shall
                       be made on any Claim until it is Allowed. If a Claim is Allowed after the
                       date when a distribution under the Plan on account of such Claim would
                       have been payable but for Section 7.2(a) or (c), such distribution shall be
                       made not later than ten (10) Business Days after such Claim is Allowed.

               (b)     Standing to Object. After the Effective Date, the Plan Trustee shall be
                       the sole party in interest with standing to object or to pursue any
                       previously-filed objection to any Claim.

               (c)     Objection Deadline. The Plan Trustee shall file objections to Claims not
                       later than the Objection Deadline therefor, provided, however, that the
                       Plan Trustee may file a motion to extend the Objection Deadline as to any
                       Claim or group of Claims, in which event such deadline shall
                       automatically be extended through and including the later of (i) the fifth
                       (5th) Business Day after the Court enters an Order on such motion, and (ii)
                       the period specified in such Order. Notwithstanding any other provision
                       of the Plan, a Claim shall not be deemed Allowed unless the Objection
                       Deadline therefor has passed.

               (d)     Reserve for Disputed Claims. The Plan Trustee shall hold in reserve the
                       amount of any distribution that would be required under the Plan on
                       account of an Unresolved Claim if it were an Allowed Claim. The amount
                       of the reserve shall be based on the Asserted Amount thereof.

               (e)     Pro Rata Distributions.          Whenever the Plan requires pro rata
                       distributions among a group of Claims, the Plan Trustee shall make (i) at
                       the time required by the Plan, a distribution of the Pro Rata Share
                       attributable to each Allowed Claim within such group, (ii) within ten (10)
                       Business Days after all Claims within such group have been Allowed or
                       Disallowed and the fund from which Allowed Claims are to be paid has
                       been finally determined, a final distribution of the Pro Rata Share
                       attributable to each Allowed Claim within such group, and (iii) at such
                       times as the Plan Trustee is able to make a material distribution (whether
                       by reason of a decrease in Unresolved Claims or an increase in funds
                       available for distribution) on account of Allowed Claims within the group,



                                                15
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18            Desc Main
                                  Document     Page 16 of 20


                       an interim distribution of the Pro Rata Share attributable to each Allowed
                       Claim within such group.

        7.3    No Interest. Except as expressly provided in the Plan or in Code Section 506(b),
no holder of a Claim or interest shall be entitled to any interest, penalty, late charge or costs of
collection on account thereof after the Petition Date.

       7.4  Preservation of Recoupment and Setoff. No provision of the Plan shall be
deemed to waive the Debtors’ rights of recoupment and setoff in respect of each and every
Claim.

         7.5    Delivery of Distributions. Except as otherwise agreed by the Plan Trustee or as
set forth in the Plan, distributions to holders of Allowed Claims shall be made by check sent by
first class mail with postage prepaid to each such holder at the address set forth in the proof of
claim for such Allowed Claim or, if none, the address set forth in the Schedules, provided that if
the Plan Trustee receives notice in writing of a change of address for any such holder or a
transfer of a Claim by a holder, the Plan Trustee shall thereafter remit distributions to the new
address or transferee set forth on such notice, as the case may be. All checks shall be deposited
in the mail not later than ten (10) days after the date of the check. Notwithstanding any other
provision of the Plan, the Plan Trustee shall not be obligated to make any single distribution to
the holder of an Allowed Claim or interest in an amount less than five dollars ($5.00).

        7.6    Time Bar to Cash Payments. If any distribution on account of a Claim is
returned to the Plan Trustee as undeliverable, or if a check in payment of the distribution on
account of a Claim remains uncashed ninety (90) days after the date of such check, then the
check will be voided, provided, however, that the Plan Trustee shall reissue such distribution if
he receives, prior to the date on which such distribution could be made from the Secured
Creditor Fund or Unrestricted Funds, as the case may be, without requiring disgorgement of any
distribution already made from such funds, notice of the correct address to which such
distribution should be sent.

        7.7     Certainty of Estate Obligations.       In order to provide certainty as to the
obligations of the Plan Trustee:

               (a)     Amendment of Claims. In no event shall the Allowed Amount of any
                       Claim exceed the amount set forth in a required proof of claim therefor
                       filed on or before the Bar Date except to the extent that (i) the claimant,
                       not later than five (5) Business Days before the Effective Date, files with
                       the Court and serves on the Debtors so as to be received by Debtors’
                       counsel on the same day, an amended proof of claim, and (ii) such
                       amendment is not otherwise barred by law or by Order. In no event shall
                       the Allowed Amount of any Administrative Claim exceed the amount set
                       forth in a proof of claim or fee application therefor filed on or before the
                       Postpetition Bar Date.

               (b)     Late-Filed or Informal Claims. Each Claim as to which a proof of claim
                       was required to be filed on or before the Bar Date or the Postpetition Bar



                                                16
  Case 18-10280       Doc 50      Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                   Document     Page 17 of 20


                       Date, as applicable, and as to which a proof of claim (or fee application)
                       was not filed on or before such date shall not under any circumstances
                       become an Allowed Claim. A proof of claim or fee application that has
                       not been timely filed shall be of no force or effect whatsoever, including
                       for purposes of any distribution made by the Plan Trustee, without the
                       need for an Order so providing; nor shall any action (including giving
                       notice to the Debtors or otherwise making an “informal” proof of claim)
                       serve for purposes of the Plan and distributions required of the Plan
                       Trustee as a substitute for timely filing a proof of claim.

               (c)     Reconsideration. No Order allowing or disallowing a Claim may be
                       reconsidered, pursuant to Code Section 502(j) or otherwise, so as to
                       increase the Allowed Amount thereof after the later of (i) five (5) Business
                       Days before the Effective Date, (ii) fourteen (14) days after the date an
                       Order allowing such Claim is first entered, or (iii) a date set by Order
                       entered not later than the end of the period established by clause (i) or (ii).

               (d)     Unknown Claims. Notwithstanding anything to the contrary contained in
                       the Plan, if a Claim is filed with the Court on or before the Bar Date or the
                       Postpetition Bar Date, as applicable, but the proof of claim, fee application
                       or other request for payment of administrative expense, as the case may, is
                       not correctly maintained in the Court’s records or otherwise does not come
                       to the attention of the Plan Trustee, acting in good faith, in reviewing or
                       making payment on account of Claims, or if the Court for any reason
                       determines the Bar Date or Postpetition Bar Date to be inapplicable to a
                       particular Claim filed or asserted thereafter, payment thereon shall be
                       made as required by the Plan only to the extent such distribution can be
                       made from the Secured Creditor Fund or Unrestricted Funds, as the case
                       may be, without requiring disgorgement of any distribution already made
                       from such funds.

        7.8     Insured Claims. Notwithstanding anything to the contrary contained in the Plan,
solely for the purpose of computing distributions on account of a Claim covered in whole or in
part by insurance of the Debtors under which the insurer, upon paying the claim, would not have
a right of subrogation or similar right against the Debtors, (a) the Allowed Amount of such Claim
shall be reduced by the amount of insurance therefor, and (b) in the case of an Unresolved Claim
that, when Allowed, will be wholly covered by such insurance, the Allowed Amount of such
Claim shall be deemed to be zero. This Section 7.8 shall not alter the obligation of any issuer of
insurance to pay any Claim at its full Allowed Amount, without reduction by reason of this
Section 7.8.

         7.9    Allowed Amount Binding. The determination pursuant to Section 1.3 and 1.23
whether a Claim is Allowed or Disallowed, and if Allowed then in what amount, shall bind the
holder of such Claim not only as to the Allowed Amount against the Estate but also as to the
liability of any other entity that is, or is asserted to be, liable for such claim. There shall not be
recovered on account of any Claim, including the liability of any other entity therefor whether



                                                 17
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                  Document     Page 18 of 20


denominated secondary, primary or independent, an aggregate amount (including distributions
under the Plan) in excess of the Allowed Amount of such Claim.

                                          SECTION 8
                                         EXCULPATION

        8.1     Compliance with Plan. Notwithstanding any provision of this Section 8, the
Debtors and all other entities shall be required to comply with the Plan in all respects, and no
party in interest shall be deemed to have relinquished any right to enforce the Plan in accordance
with its terms against the Debtors, the Plan Trustee or any other party in interest.

        8.2    Exculpation. Neither the Debtors nor any of their current or former directors,
officers, employees, agents, attorneys, other professionals, subsidiaries, other affiliated entities,
successors and assigns shall have or incur any liability to any holder of a Claim or interest for
any act or omission in connection with, related to, or arising out of the Plan, the disclosure
statement therefor, the pursuit of confirmation of the Plan, or any other aspect of the Case, except
for willful misconduct or gross negligence.

                                SECTION 9
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        9.1    Rejection of Remaining Contracts. All executory contracts and unexpired
leases of the Debtors as of the Petition Date not rejected prior to the Effective Date or assigned
during the Case under Code Section 365 shall be deemed rejected upon entry of the
Confirmation Order.

        9.2     Rejection Damage Claims. If the rejection of an executory contract or unexpired
lease by the Debtors pursuant to Section 9.1 results in damages to the other party or parties to
such contract or lease, a Claim for such damages shall be Disallowed except to the extent set
forth in a proof of claim therefor filed with the Court on or before the Postpetition Bar Date.

                                     SECTION 10
                              MISCELLANEOUS PROVISIONS

        10.1 Effect of Plan. The provisions of the Plan shall bind all holders of Claims and all
equity security holders, whether or not they accept the Plan, and any successors and assigns to
such holders of Claims and equity securities. Entry of the Confirmation Order shall be deemed
to be a determination by the Court only as to the matters expressly set forth therein and not as to
any other matter involving the Debtors, their Estate, and any party in interest in the Case. All
causes of action of the Estate are preserved except as expressly provided in the Plan. No act or
omission in relation to the Plan (including but not limited to solicitation of acceptances of the
Plan, statements contained in or omitted from the disclosure statement therefor, entry of the
Confirmation Order or occurrence of the Effective Date) shall serve to bar, whether by res
judicata, collateral estoppel, judicial estoppel or otherwise, the prosecution of any action or
objection by or on behalf of the Plan Trustee.

       10.2 Cramdown. The Debtors may seek confirmation of the Plan under Code Section
1129(b) as to any class that votes not to accept the Plan pursuant to Code Section 1126(c), is


                                                 18
  Case 18-10280       Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18             Desc Main
                                  Document     Page 19 of 20


deemed not to accept the Plan pursuant to Code Section 1126(g), or which the Debtors elect not
to solicit to accept the Plan (such class to be deemed not to have accepted the Plan).

        10.3 Discharge; Dissolution. The Plan is a plan of the type described in Code Section
1141(d)(3) and, accordingly, the Debtors shall not receive a discharge. Disallowed Claims,
although not discharged, shall not be entitled to any distribution under the Plan or to receive or
retain any assets of or owed to the Estate, whether by way of setoff, recoupment, attachment,
levy or otherwise. As provided in Code Section 362(c)(2)(A), the automatic stay shall remain in
effect as to the Debtors, the Plan Trustee and all assets of the Estate, until the Case Closing Date.

        10.4 Withdrawal, Amendment or Modification of Plan. The Debtors may (i) revoke
and withdraw the Plan, or propose amendments to or modifications of the Plan under Code
Section 1127, at any time prior to entry of the Confirmation Order; and (ii) after entry of the
Confirmation Order, modify the Plan under Code Section 1127 or remedy any defects or
omissions or reconcile any inconsistencies in the Plan or in the Confirmation Order in such
manner as may be necessary to carry out the purposes and intent of the Plan, so long as the
interests of holders of Claims and equity securities are not materially and adversely affected.

       10.5 Effect of Non-Consummation. If the Plan is withdrawn or revoked, or if
confirmation of the Plan is denied by Final Order, the Plan shall be null and void. In such event,
the provisions of the Plan may not be used against the Debtors or any party in interest for any
purpose whatsoever. Without limiting the generality of the foregoing, the Plan shall be deemed
an offer of settlement to all parties in interest, and acceptance of the Plan shall be deemed
acceptance of such offer, such that Rule 408 of the Federal Rules of Evidence and any similar
provisions of state law shall apply.

        10.6 Severability. To the extent that any provision of the Plan would, by its inclusion
in the Plan, preclude the Court from entering the Confirmation Order, the Debtors may modify or
remove such provision without further notice, provided that such removal would not have a
material adverse effect on the distribution to any party in interest. Except as set forth in the
preceding sentence, the Plan shall be construed as a single integrated agreement, and the
Debtors, their creditors, and any other parties in interest shall be conclusively presumed to have
relied on all provisions of the Plan and the Confirmation Order for purposes of any future
determination of the enforceability thereof.

       10.7 Effective Date; Substantial Consummation. The Effective Date shall occur
whether or not the Confirmation Order has become a Final Order. For purposes of Code Section
1101(2), the Plan shall be deemed to have been substantially consummated once all payments
required to be made on the Effective Date, but for Section 7.2(a), have been made.

       10.8 Post-Confirmation Fees. Fees incurred pursuant to 28 U.S.C. § 1930(a)(6)
through the Case Closing Date shall be a Plan Expense, and shall be timely paid by the Plan
Trustee.

        10.9 Dates. Whenever the Plan specifies a date for the Plan Trustee to make any
disbursement or take any other action, such action shall be taken on such date or as soon as
practicable thereafter.



                                                 19
  Case 18-10280      Doc 50     Filed 02/15/18 Entered 02/15/18 21:38:18          Desc Main
                                 Document     Page 20 of 20


        10.10 Headings. Headings are utilized in the Plan for convenience only and shall not
constitute a part of the Plan for any other purpose.

        10.11 Construction. The rules of construction set forth in Code Section 102 shall apply
to construction of the Plan.

        10.12 Retained Jurisdiction. The Court shall retain jurisdiction over the Case after the
entry of the Confirmation Order for the following purposes:

             (a)     to consider and approve any modification or revision of the Plan or the
Confirmation Order, pursuant to Section 10.4;

              (b)    to hear and determine Unresolved Claims and all applications for
Professional Claims;

               (c)     to hear and determine any and all adversary proceedings, contested
matters, or other actions commenced or continued by the Debtors or the Plan Trustee;

             (d)    to hear and determine any disputes arising under the Plan, the
Confirmation Order or under any agreements or instruments regarding implementation of the
Plan

             (e)     to grant extensions of any deadlines set forth in the Plan or the
Confirmation Order as may be appropriate; and

              (f)    to make such Orders as are necessary and appropriate to carry out and
implement the provisions of the Plan.

       Dated this 15th day of February, 2018.

                                            ENUMERAL BIOMEDICAL HOLDINGS, INC.,
                                            ENUMERAL BIOMEDICAL CORP. and
                                            ENUMERAL SECURITIES CORPORATION,

                                            By their proposed attorneys,

                                            /s/ Daniel C. Cohn
                                            Daniel C. Cohn, Esq. BBO #090780
                                            Jonathan M. Horne, Esq. BBO #673098
                                            Murtha Cullina LLP
                                            99 High Street, 20th Floor
                                            Boston, MA 02110
                                            (617) 457-4000 Telephone
                                            (617) 482-3868 Facsimile
                                            dcohn@murthalaw.com
                                            jhorne@murthalaw.com




                                                20
